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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JOHN CANTU, et al.,                           )
                                              )
                     Plaintiffs,              )
                                              )
             v.                               )    No. 15 C 9240
                                              )
THE BRINK’S COMPANY,                          )
                                              )
                     Defendant.               )


                            MEMORANDUM OPINION

SAMUEL DER-YEGHIAYAN, District Judge

      This matter is before the court on Defendant The Brink’s Company’s (TBC)

motion for summary judgment. For the reasons stated below, the motion for

summary judgment is granted.



                                   BACKGROUND

      Plaintiff John Cantu (Cantu) and Plaintiff John Downes (Downes) allegedly

each worked for TBC. Cantu allegedly worked as an armored car driver and a

messenger, and Downes allegedly worked as a messenger. Plaintiffs contend that

they were paid overtime for hours worked between 40 and 45 hours, but that they

were not paid time and a half for overtime for hours worked in excess of 45 hours.

Plaintiffs include in their complaint claims alleging violations of the minimum wages


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and overtime wages provisions of the Fair Labor Standards Act (FLSA), 29 U.S.C. §

201 et seq. (Count I), and claims alleging violations of the overtime wages provisions

of the Illinois Minimum Wage Law (IMWL), 820 ILCS 105/1 et seq. (Count II).

TBC moves to dismiss all claims, and moves in the alternative to treat TBC’s motion

as a motion for summary judgment. Since TBC seeks to rely on matters outside of

the pleadings, the court will convert the motion to dismiss into a motion for summary

judgment pursuant to Federal Rule of Civil Procedure 12(d). Plaintiffs have been

given sufficient notice of Defendant’s intent to proceed in the alternative on a motion

for summary judgment and have been given an opportunity to present all material

that is pertinent to the motion. Fed. R. Civ. P. 12(d).



                                LEGAL STANDARD

      Summary judgment is appropriate when the record, viewed in the light most

favorable to the non-moving party, reveals that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(c); Smith v. Hope School, 560 F.3d 694, 699 (7th Cir. 2009). A

“genuine issue” of material fact in the context of a motion for summary judgment is

not simply a “metaphysical doubt as to the material facts.” Matsushita Elec. Indus.

Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rather, a genuine issue

of material fact exists when “the evidence is such that a reasonable jury could return

a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986); Insolia v. Philip Morris, Inc., 216 F.3d 596, 599 (7th Cir. 2000). In

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ruling on a motion for summary judgment, the court must consider the record as a

whole, in the light most favorable to the non-moving party, and draw all reasonable

inferences in favor of the non-moving party. Anderson, 477 U.S. at 255; Bay v.

Cassens Transport Co., 212 F.3d 969, 972 (7th Cir. 2000).



                                    DISCUSSION

      TBC argues that it is a motor carrier and that it is exempt from the overtime

provisions of FLSA or IMWL under the motor-carrier exception. The FLSA

contains certain exemptions for the overtime protections. 29 U.S.C.§ 213(b). One

exemption, known as the motor carrier exemption, covers “any employee with

respect to whom the Secretary of Transportation has power to establish qualifications

and maximum hours of service pursuant to the provisions of section 31502 of Title

49” of the Motor Carrier Act. 29 U.S.C.§ 213(b)(1); see also Almy v. Kickert Sch.

Bus Line, Inc., 722 F.3d 1069, 1071 (7th Cir. 2013)(explaining that the plaintiffs

were “exempt under the FLSA because the exclusive authority to set maximum hours

for ‘motor carriers’ is vested in the Secretary of Transportation by . . . the Motor

Carrier Act”); Johnson v. Hix Wrecker Serv., Inc., 651 F.3d 658, 660-61 (7th Cir.

2011)(stating that “[t]he FLSA requires employers to pay overtime (one-and-a-half

times the hourly wage) to employees who work more than forty hours a week,” but

that certain motor carriers “that engage[] in interstate commerce may come under the

Secretary of Transportation’s jurisdiction under the Motor Carrier Act”). It is the

burden of a defendant seeking to invoke the motor-carrier exemption “to show that

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an employee is exempt.” Johnson, 651 F.3d at 661; see also Schaefer-LaRose v. Eli

Lilly & Co., 679 F.3d 560, 571 (7th Cir. 2012)(stating that in regard to the FLSA

“[a]s a remedial statute, the exemptions are narrowly drawn against the employers, . .

. and limited to those establishments plainly and unmistakably within their terms and

spirit”)(internal quotations omitted)(quoting Arnold v. Ben Kanowsky, Inc., 361 U.S.

388, 392 (1960)). The IMWL, similar to the FLSA, excludes from its definition of

an “employee” who is protected by the IMWL, any “individual permitted to work . . .

[f]or a motor carrier and with respect to whom the U.S. Secretary of Transportation

has the power to establish qualifications and maximum hours of service under the

provisions of Title 49 U.S.C. . . .” 820 ILCS 105/3(d)(7); see also Demma v.

Chicago 24 Hour Towing, Inc., 2016 WL 1639695, at *2 (N.D. Ill. 2016)(stating that

“[a] provision of the Illinois Minimum Wage Law also exempts workers covered by

the Motor Carrier Act”).



I. Allegations in Complaint

      The court notes initially that in the complaint, Plaintiffs allege that “[a]t all

times relevant TBC was not a ‘motor carrier’ as that term is used in the ‘Motor

Carrier’ exemption of the FLSA.” (Compl. Par. 11). Plaintiffs further allege that

“[a]t all times relevant, the armored truck messengers were not covered by the Motor

Carrier exemption of the FLSA.” (Compl. Par. 11). Such allegations in the

complaint are legal arguments and legal conclusions rather than factual allegations.

Thus, even if this court were to proceed under the motion to dismiss legal standard,

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such assertions by Plaintiffs in the complaint would not be controlling at this

juncture. See Cty. of McHenry v. Ins. Co. of the West, 438 F.3d 813, 818 (7th Cir.

2006)(holding that at the motion to dismiss stage a court is “‘not obliged to accept as

true legal conclusions’”)(internal quotations omitted)(quoting Hickey v. O’Bannon,

287 F.3d 656, 658 (7th Cir. 2002)). As stated above, since TBC seeks to rely upon

evidence outside of the pleadings, the court has converted the motion to dismiss to a

motion for summary judgment.



II. Applicability of Exemption

      Defendants contend that evidence and the undisputed facts show that TBC is a

motor carrier and that Plaintiffs fall within the jurisdiction of the Secretary of

Transportation and are covered by the motor carrier exemption. TBC has shown that

the nature of its interstate operations place it under the control of the Department of

Transportation. See Almy, 722 F.3d at 1074 (agreeing that “the only relevant issue is

whether the power to control hours falls under the Department of Transportation or

the Department of Labor”). While the Secretary of Labor has jurisdiction over

employees that work for a motor carrier “engage[d] wholly in intrastate commerce,”

the Secretary of Transportation has jurisdiction under the Motor Carrier Act over

employees of motor carriers “that engage[] in interstate commerce . . . .” Johnson,

651 F.3d at 660-61. The Seventh Circuit has stated that “[m]any motor carriers

engage in both interstate and intrastate commerce, but a motor carrier employee

cannot be subject to the jurisdiction of both the Secretary of Labor and the Secretary

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of Transportation simultaneously.” Id. The Secretary of Transportation “has the

power to establish qualifications and maximum hours of service for employees who

(1) are employed by carriers whose transportation of passengers or property by motor

vehicle is subject to the Secretary’s jurisdiction under the Motor Carrier Act; and (2)

engage in activities of a character directly affecting the safety of operation of motor

vehicles in the transportation on the public highways of passengers or property in

interstate or foreign commerce within the meaning of the Motor Carrier Act.” Baez

v. Wells Fargo Armored Serv. Corp., 938 F.2d 180, 181-82 (11th Cir. 1991).

      Plaintiffs argue that TBC does not transport goods in interstate commerce

under the meaning given to interstate commerce in the Motor Carriers Act. Plaintiffs

cite Collins v. Heritage Wine Cellars, Ltd., 589 F.3d 895 (7th Cir. 2009), which held

that “when a shipper transports his product across state lines for sale by him to

customers in the destination state, and the product undergoes no alteration during its

journey to the shipper’s customer, and interruptions in the journey that occur in the

destination state are no more than the normal stops or stages that are common in

interstate sales, such as temporary warehousing, the entire journey should be

regarded as having taken place in interstate commerce within the meaning of the

Motor Carrier Act’s exemption from the Fair Labor Standards Act.” Id. at 898.

Plaintiffs contend that they simply delivered shipments to TBC’s Chicago vault and

that the shipments came to rest there. Plaintiffs contend that the funds and checks

were then counted, packaged, and transferred out of state without regard to particular

customers and that Plaintiffs did not participate in shipping the funds and checks out

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of Illinois.

       As indicated above, Downes indicates that he worked as a messenger and

Cantu indicates that he worked as a messenger and that during the last four years of

his employment he worked primarily as a driver and only occasionally as a

messenger. (SAF Par. 1, 7-9). TBC has presented undisputed evidence showing that

Downes and Cantu, when acting as messengers, would pick up checks (Checks) from

customers and deliver them to TBC’s Chicago vault. (McVoy Supp. Decl. Par. 4).

TBC has presented undisputed evidence showing that the Checks did not come to

rest in the Chicago vault, but were instead packaged in an unaltered form and

shipped out of Illinois. (McVoy Supp. Decl. Par. 4-5, 8). Plaintiffs have not

presented any evidence on that point that would create a genuinely disputed fact.

Such a movement of the Checks constituted interstate commerce. The undisputed

evidence clearly shows that the momentary stop of the Checks at TBC’s Chicago

vault was nothing more than a normal stop after the first stage of a journey and was

the type of temporary warehousing identified in Collins, that was part of interstate

commerce. In accordance with Collins the entire journey of those Checks should be

regarded as having taken place in interstate commerce. See also Hernandez v.

Brink’s, Inc., 2009 WL 113406, at *3 (S.D. Fla. 2009)(concluding that since

“Brink’s and [the] [p]laintiffs were engaged in transporting checks and other

property destined for interstate or foreign destinations,” the “nature of Brink’s

relevant activities f[ell] squarely within the meaning of interstate commerce for

purposes of the Motor Carrier Act”). Downes and Cantu thus participated in the

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interstate commerce in regard to the transportation of the Checks.

      Downes and Cantu also admit that they actually transported TBC’s shipments

across state lines themselves. Downes admits that he transported TBC’s shipments

from Illinois to Indiana on multiple occasions. (SAF Par. 5). Cantu also admits that

he also drove TBC’s shipments from Illinois to Indiana on multiple occasions. (SAF

Par. 10). TBC also presents further undisputed evidence relating to Downes’ and

Cantu’s travel with TBC’s shipments from Illinois to Indiana. (McVoy Supp. Decl.

Par. 6-7). Cantu further admits that approximately ten times he picked up a shipment

from the air carrier freight at the airport that was traveling in interstate commerce.

(SAF Par. 11).

      Plaintiffs argue that any interstate commerce that they were involved in was de

minimis. Downes contends that he only traveled across state lines occasionally when

the regularly scheduled messenger did not come to work. (SAF Par. 5). Cantu

contends he would only occasionally drive shipments to Indiana. (SAF Par. 10).

However, the Seventh Circuit has held that “[a]n employee comes within the

Secretary of Transportation’s jurisdiction so long as the employee is subject, at any

time, to be[ing] assigned to interstate trips.” Johnson, 651 F.3d at 660-61 (internal

quotations omitted)(quoting Goldberg v. Faber Indus., Inc., 291 F.2d 232, 234-35

(7th Cir. 1961)). Plaintiffs’ travel from Illinois to Indiana fell within the scope of the

Motor Carrier’s Act. In Collins, the Seventh Circuit was presented with a similar

argument when the plaintiffs argued that they occasionally engaged in work that did

not fall within the coverage of the Motor Carrier Act. 589 F.3d at 901. The Seventh

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Circuit stated that “to divide jurisdiction in this way would be contrary to the

Supreme Court’s sensible decision in Morris v. McComb, 332 U.S. 422, 68 S.Ct.

131, 92 L.Ed. 44 (1947), which held that the employer of a driver who may

sometimes be required to deliver goods in interstate commerce is subject to the

Motor Carrier Act even if most of his driving is intrastate.” Id. In the instant action,

the fact that the main focus of Plaintiffs’ jobs may not have involved extensive travel

out of state does not mean that they were acting outside the coverage of the Motor

Carrier Act. The undisputed facts indicate that Plaintiffs’ interstate travel was part of

their regular job duties and that TBC engaged in interstate commerce within a

reasonable amount of time prior to the time that TBC claims the exemption.

Johnson, 651 F.3d at 662 (indicating that the defendant has to show that the

defendant “engaged in interstate commerce within a ‘reasonable period of time’

prior to the time during which it claims the exemption”); Demma, 2016 WL

1639695, at *4 (finding that the exemption applied, stating that “[a]lthough the

plaintiffs’ interstate trips were infrequent, they were a regular part of their job duties

and something within the reasonable expectation of any of [the defendant’s]

drivers”). Downes also contends that he only transported shipments to Indiana on

five occasions. (SAF Par. 5). However, the undisputed facts show that Downes only

worked for TBC for approximately ten months, and five times in ten months is not a

negligible amount. (RSF Par. 5). Plaintiffs participated at least occasionally in

interstate commerce subjecting themselves to the jurisdiction of the Secretary of

Transportation under the Motor Carrier Act and Plaintiffs thus could not be subject

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to the jurisdiction of the Secretary of Labor and the FLSA. Johnson, 651 F.3d at

660-61.

      Plaintiffs also argue that Downes, when acting as a messenger, performed only

limited duties regarding the armored cars and thus was not governed by the Motor

Carrier Act. However, the position of messenger clearly falls within the definition of

“drivers” or “driver’s helpers” under the Motor Carrier Act. Hernandez, 2009 WL

113406, at *4 (citing 29 C.F.R. § 782.4 and concluding that a messenger falls within

the motor-carrier exemption). TBC has presented evidence showing that Downes did

perform duties directly affecting the vehicles’ safety operations and that his job was

governed by the Motor Carrier Act. Based on the above, TBC’s motion for summary

judgment is granted.



                                   CONCLUSION

      Based on the foregoing analysis, TBC’s motion for summary judgment is

granted.



                                        ________________________________
                                        Samuel Der-Yeghiayan
                                        United States District Court Judge


Dated: May 6, 2016




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